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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No.

WENDELL H. STONE COMPANY, INC., individually and on behalf of all others similarly
situated,

                       Plaintiff,

v.

FIVE STAR ADVERTISING, LLC, a Colorado limited liability company; and JOHNNY LEE,
an individual,

                       Defendants.


                   CLASS ACTION COMPLAINT AND JURY DEMAND


                                     I.         INTRODUCTION

       Plaintiff Wendell H. Stone Company, Inc. d/b/a Stone & Company (“Stone” or

“Plaintiff”) brings this Class Action Complaint against Defendants Five Star Advertising, LLC

(“Five Star”) and Johnny Lee (“Lee”) (collectively, “Defendants”) to stop Defendants’ practice

of sending unsolicited fax advertisements and to obtain redress for all persons injured by their

conduct. Plaintiff Stone, for its Class Action Complaint, alleges as follows upon personal

knowledge as to itself and its own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by its attorneys.

                                          II.     PARTIES

       1.      Plaintiff Stone & Company is a corporation incorporated and existing under the

laws of the Commonwealth of Pennsylvania. Stone & Company’s principal place of business is



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in Connellsville, Pennsylvania.

        2.     Defendant Five Star Advertising, LLC is a Colorado limited liability company. Its

principal office address is 6247 El Diente Peak Place, Castle Rock, CO 80108. Five Star does

business throughout the United States, including in the State of Colorado and in this District.

        3.     Defendant Johnny Lee is a natural person residing in Castle Rock, CO.

                               III.    JURISDICTION & VENUE

        4.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227, et

seq. (“TCPA”), a federal statute. This Court also has jurisdiction under the Class Action Fairness

Act, 28 U.S.C. § 1332 (“CAFA”), because the alleged Class consists of over 100 persons, there

is minimal diversity, and the claims of the class members when aggregated together exceeds $5

million. Further, none of the exceptions to CAFA apply.

        5.     The Court has personal jurisdiction over Defendants and venue is proper in this

District because Defendants reside in this District, regularly conducts business in this District,

and a substantial part of the events giving rise to the claims asserted here occurred in this

District.

                        IV.       COMMON ALLEGATIONS OF FACT

        6.     This case challenges the Defendants’ practice of sending unsolicited fax

advertisements.

        7.     The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibits a person or entity from faxing or having an agent fax



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advertisements without the recipient’s prior express consent, invitation, and permission. The

JFPA provides a private right of action and provides statutory damages of $500 per violation.

       8.      Defendants have sent facsimile transmissions of unsolicited advertisements to

Plaintiff and the Class in violation of the JFPA. (See “Five Star Fax,” a true and correct copy of

which is attached hereto as Exhibit A.)

       9.      The Five Star Fax promotes the services and goods of Defendant, namely clothing

and apparel.

       10.     Plaintiff is informed and believes, and upon such information and belief avers,

that Defendants have sent, and continue to send, unsolicited advertisements via facsimile

transmission in violation of the JFPA.

       11.     Unsolicited faxes cause damage to their recipients, who suffer concrete harm. A

junk fax recipient loses the use of its fax machine, paper, and ink toner.

       12.     An unsolicited fax wastes the recipient’s time that would have been spent on

something else.

       13.     A junk fax also invades the recipient’s privacy.

       14.     Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent

their use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

machines, and require additional labor to attempt to discern the source and purpose of the

unsolicited message.

       15.     On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the JFPA.

       16.     Plaintiff is informed and believes, and upon such information and belief avers,



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that this action is based upon a common nucleus of operative fact because the facsimile

transmissions at issue were and are being done in the same or similar manner. This action is

based on the same legal theory for everyone, namely liability under the JFPA.

       17.     This action seeks relief expressly authorized by the JFPA: (i) injunctive relief

enjoining Defendants, their employees, agents, representatives, contractors, affiliates, and all

persons and entities acting in concert with them, from sending unsolicited advertisements in

violation of the JFPA; and (ii) an award of statutory damages in the minimum amount of $500

for each violation of the JFPA, and to have such damages trebled, as provided by § 227(b)(3) of

the Act.

              V.     FACTS SPECIFIC TO PLAINTIFF STONE & COMPANY

       18.     Defendants transmitted a facsimile advertisement to Plaintiff on October 1, 2019

at 11:12 a.m. A copy of the facsimiles is attached hereto as Exhibit A.

       19.     Defendants profited by, and received the benefits of, marketing their products by

facsimile and are responsible parties under the JFPA.

       20.     Defendants created or made Exhibit A, which Defendants knew or should have

known advertises Defendants’ goods or products and which Defendants intended to and did in

fact distribute to Plaintiff and the other members of the Class.

       21.     Exhibit A is part of Defendants’ work or operations to market Defendants’ goods.

       22.     Exhibit A constitutes material furnished in connection with Defendant’s work or

operations.

       23.     Plaintiff has never invited nor given permission to Defendants to send the Faxes

and had no prior relationship with Defendants.



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       24.     On information and belief, Defendants faxed the same unsolicited facsimile to

Plaintiff and more than 40 other recipients without first receiving the recipients’ express

permission or invitation.

       25.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized faxes.

       26.     Fax machines are left on and ready to receive the communications their owners

desire to receive.

       27.     Further, Defendants’ facsimile did not display a proper opt-out notice as required

by 47 C.F.R. § 64.1200.

       28.     Defendant Lee is the only registered member of Five Star Advertising, LLC.

       29.     Lee has personal oversight and hands-on control over the day-to-day operations of

Five Star.

       30.     On information and belief, Lee has control and oversight of the drafting and

implementation of any and all of Five Star’s policies and procedures that relate to the JFPA.

       31.     Additionally, Lee failed to implement policies and procedures to prevent the

unlawful transmission of promotional faxes to individuals who did not consent to receiving them.

       32.     On information and belief, Lee likewise oversaw and controlled the drafting of

the Five Star Fax. Further, on information and belief, Lee was directly involved in the

transmission of the faxes to Plaintiff and the Class.

                            VI.    CLASS ACTION ALLEGATIONS

       33.     In accordance with Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiff brings this class

action pursuant to the JFPA, on behalf of the following class of persons:



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       All persons who (1) on or after four years prior to the filing of this action, (2)
       were sent, by Defendants or on Defendants’ behalf, (3) a telephone facsimile
       message substantially similar to Exhibit A, (4) from whom Defendants claim they
       obtained prior express permission or invitation to send those faxes in the same
       manner as Defendants claim they obtained prior express consent to fax the
       Plaintiff.

       34.     The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendants, Defendants’

subsidiaries, parents, successors, predecessors, and any entity in which Defendants or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendants have been fully and finally adjudicated and/or

released.

       35.     Plaintiff anticipates the need to amend the class definition following appropriate

discovery.

       36.     Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is

numerous and joinder of all members is impracticable.

       37.     Plaintiff is informed and believes, and upon such information and belief avers,

that the number of class members is in the thousands.

       38.     Commonality (Fed. R. Civ. P. 23(a)(2)): Common questions of law and fact apply

to the claims of all class members. Common material questions of fact and law include, but are

not limited to, the following:

               a.      Whether the Defendants sent an unsolicited fax advertisements;


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               b.      Whether the Defendants’ fax advertised the commercial availability of

               property, goods, or services;

               c.      Whether the Defendants procured prior express permission or invitation

               from the recipients to send the faxes;

               d.      Whether the Defendants faxed advertisements without first obtaining the

               recipient’s prior permission or invitation;

               e.      Whether the Faxes contained an “opt-out notice” that complies with the

               requirements of § 227(b)(1)(C)(iii) of the Act, and the regulations promulgated

               thereunder, and the effect of the failure to comply with such requirements;

               f.      Whether the Defendants should be enjoined from faxing advertisements in

               the future;

               g.      Whether the Plaintiff and the other members of the Class are entitled to

               statutory damages; and

               h.      Whether the Defendants sent the faxed advertisements knowingly or

               willingly such that the Court should award treble damages.

       39.     Typicality (Fed. R. Civ. P. 23(a)(3)): The Plaintiff’s claims are typical of the

claims of all class members. The Plaintiff received the Faxes sent by or on behalf of the

Defendants advertising goods and services of the Defendants during the Class Period. The

Plaintiff is making the same claims and seeking the same relief for itself and all class members

based upon the same federal statute. The Defendants have acted the same or in a similar manner

with respect to the Plaintiff and all the class members.

       40.     Fair and Adequate Representation (Fed. R. Civ. P. 23(a)(4)): The Plaintiff will



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fairly and adequately represent and protect the interests of the Class. It is interested in this

matter, has no conflicts, and has retained experienced class counsel to represent the Class.

        41.     Common Conduct (Fed. R. Civ. P. 23(b)(2)): Class certification is appropriate

because the Defendants have acted and refused to act in the same or similar manner with respect

to all class members thereby making injunctive and declaratory relief appropriate. The Plaintiff

demands such relief as authorized by 47 U.S.C. §227.

        42.     Predominance, Superiority, and Manageability (Fed. R. Civ. P. 23(b)(3)):

Common questions of law and fact predominate over any questions affecting only individual

members, and a class action is superior to other methods for the fair and efficient adjudication of

the controversy because:

                a.      Proof of the claims of the Plaintiff will also prove the claims of the Class

                without the need for separate or individualized proceedings;

                b.      Evidence regarding defenses or any exceptions to liability that the

                Defendants may assert and prove will come from the Defendants’ records and will

                not require individualized or separate inquiries or proceedings;

                c.      The Defendants have acted and are continuing to act pursuant to common

                policies or practices in the same or similar manner with respect to all class

                members;

                d.      The amount likely to be recovered by individual class members does not

                support individual litigation. A class action will permit a large number of

                relatively small claims involving virtually identical facts and legal issues to be

                resolved efficiently in one (1) proceeding based upon common proofs; and



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                 e.      This case is manageable as a class action in that: (i) the Defendants

                 identified persons or entities to receive the fax transmission and it is believed that

                 the Defendants’ computer and business records will enable the Plaintiff to readily

                 identify class members and establish liability and damages; (ii) liability and

                 damages can be established for the Plaintiff and the Class with the same common

                 proofs; (iii) statutory damages are provided for in the statute and are the same for

                 all class members and can be calculated in the same or a similar manner; (iv) a

                 class action will result in an orderly and expeditious administration of claims and

                 it will foster economics of time, effort and expense; (v) a class action will

                 contribute to uniformity of decisions concerning the Defendants’ practices; and

                 (vi) as a practical matter, the claims of the Class are likely to go unaddressed

                 absent class certification.

                                      CAUSE OF ACTION
                Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227, et seq.
                              (On Behalf of Plaintiff and the Class)

          43.    Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

          44.    The JFPA makes unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement …” 47 U.S.C. § 227(b)(1)(C).

          45.    The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise.” 47



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U.S.C. § 227 (a) (5).

       46.     The faxes sent by Defendants advertised Defendants’ apparel, which are

commercial goods. Thus, the faxes are advertisements under the TCPA.

       47.     Plaintiff and the other class members never gave prior express consent to receive

the faxes.

       48.     Plaintiff is informed and believes, and upon such information and belief avers,

that during the period preceding four years of the filing of this Complaint and repeatedly

thereafter, Defendants have sent via facsimile transmission from telephone facsimile machines,

computers, or other devices to telephone facsimile machines of members of the Plaintiff Class

faxes that constitute advertisements under the JFPA that were transmitted to persons or entities

without their prior express permission or invitation. By virtue thereof, Defendants violated the

JFPA and the regulations promulgated thereunder. Plaintiff is informed and believes, and upon

such information and belief avers, that Defendants continue to send unsolicited advertisements

via facsimile transmission in violation of the JFPA and the regulations promulgated thereunder,

and absent intervention by this Court, will do so in the future.

       49.     The TCPA/JFPA provides a private right of action to bring this action on behalf

of Plaintiff and the Plaintiff Class to redress Defendant’s violations of the Act and provides for

statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

appropriate. Id.

       50.     The JFPA is a strict liability statute. The Defendants are liable to the Plaintiff and

the other class members even if their actions were only negligent.

       51.     The Defendants knew or should have known that (a) the Plaintiff and the other



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class members had not given express invitation or permission for the Defendants or anybody else

to fax advertisements about the Defendants’ goods or services and (b) the faxes constituted an

advertisement.

       52.       The Defendants’ actions caused damages to the Plaintiff and the other class

members. Receiving the Defendants’ junk faxes caused the recipients to lose paper and toner

consumed in the printing of the Defendants’ faxes. Moreover, the Defendants’ faxes used the

Plaintiff's fax machine.

       53.       The Defendants’ fax cost the Plaintiff time, as the Plaintiff and its employees

wasted their time receiving, reviewing and routing the Defendants’ unauthorized faxes. That time

otherwise would have been spent on the Plaintiff's business activities. The Five Star Fax

unlawfully invaded the Plaintiff’s and other class members’ privacy interests in being left alone.

       54.       The injury and property damage sustained by Plaintiff and the other class

members from the sending of Defendants’ advertisements occurred outside of Defendants’

premises.

       55.       Opt-Out Notice Requirements. To the extent that Defendants claim any sort of

established business relationship with Plaintiff or members of the Class, the Five Star Fax is still

unlawful because of Defendants’ failure to include sufficient opt-out notice.

       56.       The JFPA strengthened the prohibitions against the sending of unsolicited

advertisements by requiring, in § 227(b)(1)(C)(iii) of the Act, that senders of faxed

advertisements place a clear and conspicuous notice on the first page of the transmission that

contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”).



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                       (1)     a statement that the recipient is legally entitled to opt-out of

               receiving future faxed advertisements – knowing that he or she has the

               legal right to request an opt-out gives impetus for recipients to make such

               a request, if desired;

                       (2)     a statement that the sender must honor a recipient’s opt-out

               request within 30 days and the sender’s failure to do so is unlawful –

               thereby encouraging recipients to opt-out, if they did not want future

               faxes, by advising them that their opt-out requests will have legal “teeth”;

                       (3)     a statement advising the recipient that he or she may opt-

               out with respect to all of his or its facsimile telephone numbers and not

               just the ones that receive a faxed advertisement from the sender – thereby

               instructing a recipient on how to make a valid opt-out request for all of his

               or its fax machines.

       The requirement of (1) above is incorporated from § 227(b)(2)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § 227(b)(2)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (the “FCC”) in ¶31 of its 2006 Report

and Order (In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act, Junk Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules

and regulations took effect on August 1, 2006). The requirements of (3) above are contained in §

227(b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via §

227(b)(2)(D)(ii). Compliance with the Opt-Out Notice Requirements is neither difficult nor

costly. The Opt-Out Notice Requirements are important consumer protections bestowed by



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Congress upon the owners of fax machines giving them the right, and means, to stop unwanted

faxed advertisements. As a result of such requirements, a sender of a faxed advertisement who

fails to comply with the Opt-Out Notice Requirements has, by definition, transmitted an

unsolicited advertisement under the JFPA. This is because such a sender can neither claim that

the recipients of the faxes advertisement gave “prior express permission or invitation” to receive

the Faxes nor can the sender claim the exemption from liability contained in § 227(b)(1)(C)(i) of

the Act.

       57.       Defendants sent the Five Star Fax via facsimile transmission from telephone

facsimile machines, computers, or other devices to the telephone facsimile machines of Plaintiff

and members of the Plaintiff Class. The Five Star Fax constituted an advertisement under the

Act. Defendant failed to comply with the Opt-Out Requirements in connection with the fax

because the fax fail to apprise recipients of their legal right to opt out and instead merely say “to

delete fax number, please call 1-800-627-3820.” The faxes also do not advise that Defendants

must honor any opt-out request within 30 days. The faxes were transmitted to persons or entities

without their prior express permission or invitation and/or Defendants is precluded from

asserting any prior express permission or invitation because of the failure to comply with the

Opt-Out Notice Requirements. By virtue thereof, Defendants violated the JFPA and the

regulations promulgated thereunder by sending the Faxes via facsimile transmission to Plaintiff

and members of the Class.

                                 VII.    PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Stone & Company, on behalf of itself and the Class, prays for

the following relief:



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               1.      An order certifying this case as a class action on behalf of the Class as

defined above; appointing Plaintiff as the representative of the Class and appointing its attorneys

as Class Counsel;

              2.       An award of actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation, whichever is greater, to be trebled where the faxes

were knowingly or willfully sent, all to be paid into a common fund for the benefit of the

Plaintiff and the Class Members;

              3.       An order declaring that Defendants’ faxes constitute unsolicited

advertisements, that they lack the required opt out language, and that Defendants sent the faxes

without first obtaining prior express invitation, permission or consent of the recipients, and

enjoining Defendants from sending further faxes to Plaintiff and the Class without first obtaining

prior express invitation or permission or that fail to contain appropriate opt out language, and

otherwise protecting the interests of the Class;

               4.      An award of pre-judgment interest;

               5.      An award of reasonable attorneys’ fees and costs to be paid out of the

common fund prayed for above; and

               6.      Such further and other relief the Court deems reasonable and just.

                                     VIII. JURY DEMAND

               Plaintiff requests a trial by jury of all claims that can be so tried.


Dated: November 6, 2019                                WENDELL H. STONE COMPANY, INC.,
                                                       individually, and on behalf of all others
                                                       similarly situated,

                                                       By: /s/ Patrick H. Peluso


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